Case 2:20-cv-02927-CBM-AS Document 29-2 Filed 04/28/20 Page 1 of 10 Page ID #:434



     1 LEROY SMITH, State Bar No. 107702
         County Counsel, County of Ventura
     2 CHARMAINE H. BUEHENER, State Bar No. 220868
         Assistant County Counsel
     3 800 South Victoria Avenue, L/C #1830
         Ventura, California 93009
     4 Telephone: (805) 654-2588
         Facsimile: (805) 654-2185
     5 E-mail:      charmaine.buehner@ventura.org
     6 Attorneys for Defendants County of Ventura
         (also erroneously sued as Ventura County Public
     7 Health Care Agency), Sheriff William Ayub
         (erroneously sued as Bill Ayub), Robert
     8 Levin and William T. Foley
     9
                              UNITED STATES DISTRICT COURT
    10
                             CENTRAL DISTRICT OF CALIFORNIA
    11
    12 DONALD MCDOUGALL, an               )        No. 2:20 cv-029927 CBM(ASX)
         individual; JULIANA GARCIA, an )
    13   individual; SECOND AMENDMENT )            DECLARATION OF CHARMAINE
         FOUNDATION; CALIFORNIA           )        H. BUEHNER IN SUPPORT OF
    14   GUN RIGHTS FOUNDATION; and )              DEFENDANTS’ OPPOSITION TO
         FIREARMS POLICY COALITION, )              PLAINTIFFS’ SECOND EX PARTE
    15   INC.,                            )        APPLICATION FOR TEMPORARY
                                          )        RESTRAINING ORDER
    16                       Plaintiffs,  )
                vs.                       )        Date:
    17                                    )        Time:
         COUNTY OF VENTURA,               )        Ctrm: 8b
    18   CALIFORNIA; BILL AYUB, in his )           Judge: Hon. Consuelo B. Marshall
         official capacity; WILLIAM T.    )
    19   FOLEY, in his official capacity, )        Trial:           Not Set
         ROBERT LEVIN, in his official    )        Complaint Filed: March 28, 2020
    20   capacity; and VENTURA COUNTY )
         PUBLIC HEALTH CARE AGENCY, )
    21                                    )
                                          )
    22                       Defendants.  )
                                          )
    23
    24         I, Charmaine H. Buehner, state as follows:
    25         1. I am an attorney licensed to practice law in the State of California. I am
    26 an Assistant County Counsel with the County of Ventura (“County”) and represent
    27 defendant County, as well as the individual defendants named in the above-
    28 captioned action, all of whom have been named in their official capacity: William
                                                   1
                       DECLARATION OF CHARMAINE H. BUEHNER
              IN SUPPORT OF OPPOSITION TO EX PARTE APPLICATION FOR TRO
Case 2:20-cv-02927-CBM-AS Document 29-2 Filed 04/28/20 Page 2 of 10 Page ID #:435



     1 Ayub, the County Sheriff, Robert Levin, M.D., the County Health Officer, and
     2 William T. Foley, the Director of the Ventura County Health Care Agency, in
     3 which the County’s Public Health Department resides. The defendant identified as
     4 “Ventura County Public Health Care Agency” is not an agency or department of
     5 the County, nor are the Health Care Agency or the Public Health Department legal
     6 entities separate from the County. All named defendants are collectively referred
     7 to herein as “Defendants.” I have personal knowledge of the facts stated herein
     8 and, if called as a witness, I could and would competently testify thereto.
     9         2. On April 21, 2020, plaintiffs in this action, Donald McDougall, Juliana
    10 Garcia, Second Amendment Foundation, California Gun Rights Foundation and
    11 Firearms Policy Coalition (“Plaintiffs”), served the First Amended Complaint and
    12 a Motion for Preliminary Injunction (“MPI”) on Defendants, and set a hearing date
    13 of May 12, 2020, for the MPI.
    14         3. On that same day, April 21, 2020, upon review of the hearing date
    15 indicated in Plaintiffs’ MPI notice, I e-mailed Plaintiffs’ counsel, Ronda Baldwin-
    16 Kennedy, to advise her that notice of the motion was defective because the MPI
    17 was served with only 21 days’ notice of the hearing in violation of Local Rule 6-1.
    18 I further informed Ms. Baldwin-Kennedy that a May 12, 2020, hearing date
    19 deprives Defendants of a meaningful opportunity to respond to the MPI.
    20 Specifically, Local Rule 7-9 requires oppositions to motions be filed 21 days in
    21 advance of the hearing date, which would make Defendants’ opposition to the
    22 voluminous motion due the same day the motion was served. In response, Ms.
    23 Baldwin-Kennedy agreed to request a later hearing date, and the parties filed a
    24 joint stipulation, which this court granted on April 22, 2020, and continued the
    25 hearing to July 28, 2020. A true and correct copy of my e-mail exchange with
    26 Ms. Baldwin-Kennedy is attached to my declaration as Exhibit 1, pages 3-7.
    27         4. On Friday afternoon, April 24, 2020, Ms. Baldwin-Kennedy e-mailed me
    28 to indicate she planned to file a second ex parte request for a temporary restraining
                                                  2
                       DECLARATION OF CHARMAINE H. BUEHNER
              IN SUPPORT OF OPPOSITION TO EX PARTE APPLICATION FOR TRO
Case 2:20-cv-02927-CBM-AS Document 29-2 Filed 04/28/20 Page 3 of 10 Page ID #:436



     1 order and asked whether Defendants would file a response. I responded to
     2 Ms. Baldwin-Kennedy the same day, explaining that Defendants would oppose
     3 Plaintiffs’ additional request for a temporary restraining order, and the bases for
     4 Defendants’ opposition. (Exh. 1, pp. 1-2.) Ms. Kennedy did not respond to my e-
     5 mail, instead filing the second temporary restraining order application around
     6 9:00 p.m. that same day, April 24, 2020.
     7         I declare under penalty of perjury of the laws of the United States and the
     8 State of California that the foregoing is true and correct.
     9
                                                      /s/
    10 Dated: April 27, 2020
                                                CHARMAINE H. BUEHNER
    11                                          Assistant County Counsel
    12                                   Attorneys for Defendant County of Ventura
                                         (also erroneously sued as Ventura County Public
    13                                   Health Care Agency), Sheriff William Ayub
                                         (erroneously sued as Bill Ayub), Robert Levin
    14                                   and William T. Foley
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                       DECLARATION OF CHARMAINE H. BUEHNER
              IN SUPPORT OF OPPOSITION TO EX PARTE APPLICATION FOR TRO
Case 2:20-cv-02927-CBM-AS Document 29-2 Filed 04/28/20 Page 4 of 10 Page ID #:437


   From:            Buehner, Charmaine
   To:              Ronda Baldwin-Kennedy, Esq.
   Cc:              Gonzales, Sylvia; Adam Kraut
   Bcc:             Smith, Leroy; Barnes, Jeffrey; Walker, Michael; Boada, Alberto
   Subject:         RE: McDougall v. County of Ventura, Proposed Second TRO Request & Request for L.R. 7-3 Conference
   Date:            Friday, April 24, 2020 4:10:56 PM
   Attachments:     45E552BB3A7741BF8AC261B08AF390FA.png
                    003399C00E6D40D7B986D8C4E49270E0.png


   Hello Ronda:

   The County opposes any additional request for a TRO by your clients for a number of reasons.

   First, the Court previously denied your application for a TRO, and the compelling justification for the
   County’s emergency and temporary orders, i.e., the prevention and spread of a “virulent,” highly
   contagious and potentially fatal disease that has no cure, has not changed. (ECF Doc. No. 12.)
   Plaintiffs’ filing of the First Amended Complaint to add a would-be gun purchaser plaintiff, the
   association plaintiffs, and a “Right to Travel” claim under the Privileges and Immunities clause and
   the Fifth and Fourteenth Amendments do not change this result. (See e.g., Shows v. Swain County
   Sheriff (W.D.N.C. April 23, 2020) 2020 WL 1953621 [denying TRO to restrain public emergency
   orders imposition of a curfew in light of pandemic on grounds that the order violated the Privileges
   & Immunities Clause and the First, Fourth, Fifth and Fourteenth Amendments].) Additionally, in
   putting the hearing on your clients’ motion out until the end of July, despite the parties joint request
   for a May 19 hearing, the Court has already impliedly rejected your request for a shortened notice
   period and immediate hearing on this issue (as stated in your Notice of Motion, ECF Doc. No. 20 Pg.
   ID 99, fn.1).

   Second, your clients are unlikely to prevail on the merits of your claims for the reasons stated in the
   Court’s prior order denying your clients application for a TRO (ECF Doc. No. 12), and under Jacobsen
   v. Commonwealth (1905) 197 U.S. 11. Since the Court’s order denying your TRO in this case, courts
   in the Central District and federal courts around the country have widely upheld emergency orders
   similar to County’s orders (both superseded and current) when those courts have analyzed claims of
   a constitutional violations in this global pandemic. (See e.g. Brandy v. Villanueva (C.D. Cal. April 6,
   2020) Case No. 2:20-cv-02874, ECF Doc. No. 29 [denying TRO request for would-be gun purchasers
   and gun shops to enjoin closure of gun shops where plaintiffs asserted Second Amendment claims]),
   see also First Baptist Church v. Kelly (D. Kan. April 18, 2020) 2020 WL 1910021 [denying request to
   restrain enforcement of emergency public health orders under Jacobsen v. Commonwealth (1905)
   197 U.S. 11 to allow religious assembly and practice as requested by plaintiffs].) The balance of
   harms and the public interest, i.e., the preservation of the health and lives of Ventura County
   residents, tip sharply in the County’s favor.

   Third, Plaintiffs First Amended Complaint has been mooted, in whole, if not in part, because the FAC
   is based on County orders (i.e., the County’s March 17, 20, 31 and April 9 Orders) that have been
   superseded and are no longer in effect due to the issuance of new Stay at Home orders issued on
   April 18 and 20, 2020. (See April 20, 2020 Order, available at
   https://vcportal.ventura.org/CEO/VCNC/2020-04-18_Signed_15V8544-Final-Final_Master_Ord.pdf.)
   In addition, the April 20 Order expressly permits Mr. McDougall to pick up his alleged previously


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   purchased firearm provided that social distancing protocols are followed as provided in the Order
   (See Order at p. 7, paragraph 11.)

   Based on the foregoing, I urge you to reconsider your proposed course of action. Finally, please
   provide your availability by phone on Wednesday, May 29 or Thursday, May 30, for a conference
   of the parties under Local Rule 7-3 to discuss the bases for the County’s anticipated filing of a
   Motion, under Fed. R. Civ. Proc. 12(b)(6) to Dismiss the First Amended Complaint.

   Best Regards,
   Charmaine H. Buehner


   Second,
   Sent from Mail for Windows 10


   From: Ronda Baldwin-Kennedy, Esq.
   Sent: Friday, April 24, 2020 2:31 PM
   To: Buehner, Charmaine
   Cc: Gonzales, Sylvia; Adam Kraut
   Subject: Re: McDougall v. County of Ventura, Case No. 2:20-cv-02927 - Request for Stipulation


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   Good Afternoon Counsel,

   Given the July hearing date and the urgency of the matter, I will be filing an application for a TRO on
   behalf of all plaintiffs today. Do you anticipate filing a response?

   Best Regards,

   Ronda N. Baldwin-Kennedy, Esq.
   Law Office of Ronda Baldwin-Kennedy

   5627 Kanan Road Ste. 614
   Agoura Hills, CA 91301
   P:951-268-8977
   F: 702-974-0147

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                         Exhibit 1 to Buehner Declaration, page 2 of 7
Case 2:20-cv-02927-CBM-AS Document 29-2 Filed 04/28/20 Page 6 of 10 Page ID #:439




   Get Outlook for iOS
   From: Buehner, Charmaine <Charmaine.Buehner@ventura.org>
   Sent: Tuesday, April 21, 2020 5:17:30 PM
   To: Ronda Baldwin-Kennedy, Esq. <ronda@lorbk.com>
   Cc: Gonzales, Sylvia <Sylvia.Gonzales@ventura.org>
   Subject: RE: McDougall v. County of Ventura, Case No. 2:20-cv-02927 - Request for Stipulation

   Ronda:

   Thank you very much.

   Charmaine H. Buehner
   Tel: 805-654-2588

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   not the intended recipient of this material, please delete it immediately and inform the sender at Charmaine.Buehner@ventura.org. Thank
   you.


   From: Ronda Baldwin-Kennedy, Esq. <ronda@lorbk.com>
   Sent: Tuesday, April 21, 2020 5:17 PM
   To: Buehner, Charmaine <Charmaine.Buehner@ventura.org>
   Cc: Gonzales, Sylvia <Sylvia.Gonzales@ventura.org>
   Subject: Re: McDougall v. County of Ventura, Case No. 2:20-cv-02927 - Request for Stipulation


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   Hi Charmaine,

   Per our phone conversation the language is approved. You may add my electronic signature and file.

   Ronda Baldwin-Kennedy

   Get Outlook for iOS
   From: Buehner, Charmaine <Charmaine.Buehner@ventura.org>
   Sent: Tuesday, April 21, 2020 4:21:27 PM
   To: Ronda Baldwin-Kennedy, Esq. <ronda@lorbk.com>
   Cc: Gonzales, Sylvia <Sylvia.Gonzales@ventura.org>
   Subject: RE: McDougall v. County of Ventura, Case No. 2:20-cv-02927 - Request for Stipulation

   Ms. Kennedy:

   Thank you for your prompt response and agreement to the proposed May 19 date.


                                   Exhibit 1 to Buehner Declaration, page 3 of 7
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  This is the draft language for the stipulation:

         Defendants, County of Ventura, Sheriff William Ayub, Dr. Robert Levin
  and Director William T. Foley (collectively “Defendants”) and plaintiffs
  Donald McDougall, Juliana Garcia, Second Amendment Foundation, California
  Gun Rights Foundation and Firearms Policy Coalition, Inc. (collectively
  “Plaintiffs”), by and through their respective counsel of record, stipulate and
  agree as follows:
         1. On March 28, 2020, Plaintiffs filed the complaint in this action but
  did not serve it on Defendants (ECF Doc. No. 1).
         2. On March 30, 2020, Plaintiffs filed an ex parte application for a
  temporary restraining order (ECF Doc. Nos. 9 & 10.), which the Court denied
  on April 1, 2020 (ECF Doc. No. 12).
         3. On April 14, 2020, Plaintiffs filed a first amended complaint (ECF
  Doc. No. 19) and a motion for preliminary injunction (ECF Doc. No. 20
  (“MPI”)).
         4. On April 21, 2020, Plaintiffs served the operative complaint and MPI
  on Defendants. Plaintiffs set a hearing date on the MPI for May 12, 2020.
         5. No prior continuances have been requested by any party.
         6. Plaintiffs service of the MPI does not provide Defendants with
  sufficient notice of the motion under Local Rule 6-1, nor does it provide
  Defendants with a meaningful opportunity to respond to the MPI, given that
  under Local Rule-7-9, Defendants opposition to the MPI would be otherwise
  due on the same day Plaintiffs served the motion.
         7. Plaintiffs and Defendants agree that the MPI should be heard in a
  manner that affords Defendants a meaningful opportunity to respond, and that
  the new hearing date should be set on May 19, 2020, or as soon thereafter as is
  convenient for the Court, with Defendants’ opposition to be filed in accordance
  with Local Rule 7-9.
  IT IS SO STIPULATED.


  If this language is acceptable to you, please advise that I have permission to file a stipulation
  containing same together with a proposed order.

  Thank you.


  Charmaine H. Buehner
  Tel: 805-654-2588


                          Exhibit 1 to Buehner Declaration, page 4 of 7
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    you.


    From: Ronda Baldwin-Kennedy, Esq. <ronda@lorbk.com>
    Sent: Tuesday, April 21, 2020 3:44 PM
    To: Buehner, Charmaine <Charmaine.Buehner@ventura.org>
    Cc: Gonzales, Sylvia <Sylvia.Gonzales@ventura.org>
    Subject: Re: McDougall v. County of Ventura, Case No. 2:20-cv-02927 - Request for Stipulation

    Dear Counsel,

    My clients are agreeable to a May 19, 2020 date.

    Best Regards,

    Ronda N. Baldwin-Kennedy, Esq.
    Law Office of Ronda Baldwin-Kennedy
    5627 Kanan Road Ste. 614
    Agoura Hills, CA 91301
    P:951-268-8977
    F: 702-974-0147

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    From: Buehner, Charmaine <Charmaine.Buehner@ventura.org>
    Sent: Tuesday, April 21, 2020 3:27 PM
    To: Ronda Baldwin-Kennedy, Esq. <ronda@lorbk.com>
    Cc: Gonzales, Sylvia <Sylvia.Gonzales@ventura.org>
    Subject: RE: McDougall v. County of Ventura, Case No. 2:20-cv-02927 - Request for Stipulation

    Dear Ms. Kennedy:

    My email below contains an obvious typo, highlighted below, apologies. The County is amenable
    to a new hearing date of May 19, or thereafter as mutually agreeable by the parties.

    Charmaine H. Buehner
    Tel: 805-654-2588

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Case 2:20-cv-02927-CBM-AS Document 29-2 Filed 04/28/20 Page 9 of 10 Page ID #:442



   From: Buehner, Charmaine
   Sent: Tuesday, April 21, 2020 2:26 PM
   To: Ronda Baldwin-Kennedy, Esq. <ronda@lorbk.com>
   Cc: Gonzales, Sylvia <Sylvia.Gonzales@ventura.org>
   Subject: McDougall v. County of Ventura, Case No. 2:20-cv-02927 - Request for Stipulation
   Importance: High

   Dear Ms. Kennedy:

   I have been assigned as the handling attorney for the above-referenced case, and am pleased to
   make your acquaintance with this email. Please direct any future correspondence concerning this
   matter to my attention. I write to alert your office to a timing problem with the motion for
   preliminary injunction (“MPI”) that you served on my office today, April 21, 2020, and request
   your immediate response.

   The MPI is set for hearing on May 12, 2020, only 21 days from today. There are two problems
   with the timing of the hearing you set. First, notice of the motion does not comply with Local
   Rule 6-1, which requires 28 days’ notice absent court order. No such order has been made.
   Second, your motion denies the County of a meaningful opportunity to respond to your 85-page
   motion, given that our opposition would be due today under Local Rule 7-9. This is plainly
   insufficient notice under long-established precedent. (Granny Goose Foods, Inc. v. Brotherhood of
   Teamsters of Alameda County (1974) 415, 423, 432 [same-day notice insufficient to afford defendant
   meaningful opportunity to respond] cited by Federal Trade Comm’n v. Enforma Natural Products, Inc.
   (9th Cir. 2004) 362 F.3d 1204, 1217; see also Four Seasons Hotels & Resorts, B.V. v. Conscorcio Barr,
   S.A. (11th Cir. 2003) 320 F.3d 1205, 1212 [2 day notice insufficient time to allow for meaningful
   response from defendant].)

   Based on the foregoing, I propose the parties stipulate to a mutually agreeable briefing timeline
   and hearing date. To this end, I propose a hearing date of May 5, which makes the County’s
   opposition due on May 28. If you are amenable to my proposal, or would like to discuss
   alternative dates, please advise. Assuming we can agree, I will circulate a draft stipulation and
   request for order for filing today or tomorrow. In the absence of such a stipulation, and
   given the immediate deadlines plaintiffs have imposed on defendants’ opposition, I will
   seek the continuance on an ex parte basis, and will file same after 5pm today.

   I look forward to hearing from you and can be reached at the below number.

   Best Regards,

   Charmaine H. Buehner
   Assistant County Counsel
   County of Ventura
   800 South Victoria Avenue, L/C 1830
   Ventura, California 93009

   Tel: 805-654-2588
   Fax: 805-654-2185


                         Exhibit 1 to Buehner Declaration, page 6 of 7
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